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                           EXHIBIT 10
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      Editorial


      Opioid-free Anesthesia: Time to Regain Our Balance
      Evan D. Kharasch, M.D., Ph.D., J. David Clark, M.D., Ph.D.



      F    ashions come and fashions go.                                                                major noncardiac surgery received




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           Changes in clothing, automo-                                           Rem if e ntanil
                                                                                                        intraoperative balanced anesthe-
      biles, and restaurants follow popular                                                             sia featuring opioids (remifentanil
      trends and are often periodic and                                                                 infusion and morphine) or dexme-
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      cyclical. Ideally, medical change is                                   UT/ON'
                                                                                                        detomidine infusion (opioid-free)
      driven not by fashion but instead                                                                 and postoperative morphine. The
      by concepts of effectiveness and                                                                  primary outcome was a com-
      safety, and these concepts should                                                                 posite of opioid-related adverse
      improve and refine as better data                                                                 events (hypoxemia, ileus, or cogni-
      become available. Trends hold true                                                                tive dysfunction) in the 48 h post-
      also in anesthesia practice, where                                                                operatively. Secondary outcomes
      for example intraoperative opioid                                                                 included postoperative pain, opioid
      selection has swung from long-du-                                                                 consumption, nausea and vomiting,
      ration to ultra-short duration and                                                                and times to extubation and pos-
      then at least partially back again.1                                                              tanesthesia care unit discharge.
      Recent years have witnessed a new                                                                     Frighteningly, the investigation
      fashion in anesthesiology: “opi- “Opioid-free anesthesia may was stopped prematurely because of
      oid-free anesthesia.” For some, the be feasible. Nevertheless, it                                 safety concerns. Specifically, there
      opioid pendulum has swung clear
      past rational opioid use in balanced
                                               appears neither logical nor were                                five cases of severe bradycar-
                                                                                                        dia in the dexmedetomidine group,
      anesthesia to eliminating opioids        beneficial to patients.”                                 including three cases of asystole.
      intraoperatively and sometimes                                                                    The composite primary endpoint
      also postoperatively (opioid-free analgesia). Eradicating opi-   (adverse events) occurred in significantly more dexmedeto-
      oids from intraoperative and postoperative analgesic plans       midine (78%) than opioid (68%) patients (relative risk, 1.16),
      has been termed a “movement,”2 and like many “move-              because of a greater incidence of hypoxemia but not more
      ments,” it has attracted passionate proponents and spirited      ileus or cognitive dysfunction. Times to extubation and
      debate.3,4 Nevertheless, clinical research and peer-reviewed     postanesthesia care unit discharge were significantly longer
      evidence on the potential benefits and risks of opioid-free      in the dexmedetomidine than the opioid group. Although
      anesthesia have remained scant, needed, and called for.5–7       dexmedetomidine patients had lower rates of nausea and
          This issue of Anesthesiology features two articles on        vomiting, postoperative morphine consumption was sta-
      opioid-free anesthesia that bring some light to the heat of the  tistically but not clinically meaningfully less (median, 3 mg
      debate.The original investigation by Beloeil et al.8 reports the difference), and postoperative pain scores, intensive care unit
      results of a randomized clinical trial of balanced anesthesia    admission, and length of stay did not differ between groups.
      with either remifentanil or dexmedetomidine (opioid-free).       The authors concluded that balanced opioid-free anesthesia
      The review by Shanthanna et al.9 provides a narrative expo-      with dexmedetomidine increased serious adverse events and
      sition of opioid-free versus opioid-sparing approaches in the    they questioned the benefit of eliminating intraoperative
      perioperative period.These articles are timely and important.    opioids in favor of dexmedetomidine.
          The clinical trial8 was investigator-initiated, multi-           This investigation is important because it evaluated both
      center, randomized, prospective, parallel-group, and sin-        the benefits and risks of an opioid-free anesthetic regimen
      gle-blind, conducted in 10 centers in France, with an            in a carefully controlled and blinded randomized trial. Any
      independent data and safety monitoring board to oversee          benefits were negligible. It is rare and concerning when a
      the conduct and review safety data. Patients undergoing          clinical trial is terminated for safety. Moreover, the adverse


      Image: J. P. Rathmell.
      This editorial accompanies the articles on p. 541 and p. 645.
      Accepted for publication January 8, 2021. From the Department of Anesthesiology, Duke University School of Medicine, Durham, North Carolina (E.D.K.); the Anesthesiology Service,
      Veterans Affairs Palo Alto Health Care System, Palo Alto, California (J.D.C.); and the Department of Anesthesiology, Stanford University School of Medicine, Stanford, California (J.D.C.).
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      events in this trial were not strictly related to dexmede-             no one is unaware of the opioid crisis, and opioid overdose
      tomidine dose, meaning that they are less predictable and              has worsened with the COVID-19 pandemic.
      that reducing the dose may not be a strategy for mitigation.               The opioid crisis has multiple antecedents, and the roots
      This investigation exemplifies the critical need for carefully         are even deeper than popular narratives and current medical
      assessing the safety of multimodal regimens (and, in this              literature portray. Opioids have been used medicinally for
      case, opioid-free anesthesia), in addition to potential benefit,       millennia. However, more recent and successive waves of
      as has been called for previously in this journal10–12 and by          use have culminated in our current predicament. In the first




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      others.13,14 Case in point, a four-drug intraoperative non-            wave (1960s), acute pain management with oral opioids was
      opioid regime added no benefit to standard anesthesia and              so common that propoxyphene was the second most com-
      did not appreciably change postoperative opioid use or pain            monly dispensed drug in the United States.20 A second wave
      scores despite the greatly increased complexity of the anes-           (1990s) saw further increases in oral opioid use for chronic
      thetics.12 The trial reported by Beloeil et al.8 clearly demon-        pain treatment despite unclear evidence of effectiveness.20 A
      strates that we can do more harm than good by eliminating              third wave (2001 to 2010) saw further expanded oral opioid
      intraoperative opioids, depending on how we replace them.              use, with aggressive marketing, liberalized prescribing, and
          The narrative review9 is comprehensive and concludes               proliferating managed care, regulatory agency, and practice
      that although complete opioid sparing is possible in some              efficiency guidelines that encouraged expanded opioid
      contexts and procedures, there is no evidence that opi-                prescribing. Indeed, from 2006 to 2010, hydrocodone–ac-
      oid-free strategies (1) have benefits above and beyond                 etaminophen was the most widely prescribed drug in the
      opioid-sparing strategies, (2) influence the risk or prevent           United States.21 Commensurate with increased oral opioid
      persistent postoperative opioid use, or (3) prevent postop-            use during that time, the annual overdose deaths involving
      erative opioid overprescription. In fact, there is little reason       prescription oral opioids escalated by 182% (fig. 1).22,23 The
      to suppose any of these hoped-for benefits would accrue.               fourth, most recent, and most devastating wave of opioid
      The narrative remarks that opioid-free strategies, however             overdoses relates to escalating heroin and illicit fentanyl use
      noble in their cause, do not fully acknowledge the limita-             (fig. 1), economic stress and employment deterioration,24
      tions and gaps in existing evidence and clinical practice              a shift of the abused opioid supply chain from medical to
      considerations; do not allow analgesic titration based on              illicit sources, and a fluid substitution of illicit fentanyl for
      patient needs; are unclear about optimal nonopioid com-                prescription opioids. Overall opioid prescribing has for-
      ponents; have ill-defined roles in different surgical settings         tunately receded,25 yet overdose deaths have negligibly
      and perioperative phases; necessitate additional equipment,            changed because of this more lethal wave of heroin and
      monitoring, resources, and cost; ignore concerns about                 illicit fentanyl abuse.26,27
      safety and drug interactions; do not serve to decrease the                 The point is this: Notably absent from this entire histor-
      risk of persistent opioid use; and, as a result, are unrealistic       ical narrative is any mention of, association with, or causal
      in routine clinical practice. Perhaps most importantly, the            attribution of the opioid crisis to intraoperative and imme-
      undue focus on opioid-free anesthesia may be distracting               diate postoperative use of opioids to treat moderate-to-se-
      us from optimizing pain relief and minimizing long-term                vere surgical pain. Similarly, it is a great and unfounded leap
      harms.                                                                 to say that there is an opioid crisis and therefore we must
                                                                             stop using opioids for surgery. However, the steady drum-
                                                                             beat of the opioid crisis can influence practitioner behavior,
      Looking Back
                                                                             voluntarily or subconsciously. If the concept and practice of
      What are the antecedents and potential drivers of “opi-                “opioid-free” anesthesia is a response to the opioid crisis, it
      oid-free anesthesia”? These may include inappropriate                  is unnatural, unfounded, and perplexing.
      overreaction to the opioid crisis, opioid sparing taken to an
      extreme, and misinterpretation of contemporary emphasis                Opioid Sparing versus Opioid Eradication
      on enhanced recovery after surgery guidelines.
                                                                             With the shift from balanced intraoperative anesthesia and
                                                                             postoperative analgesia with opioids as the only analgesic
      The Opioid Crisis                                                      component to current concepts of balanced anesthesia and
      The current opioid crisis emanated from inappropriate                  multimodal analgesia with opioids and other drugs, perhaps
      prescribing, marketing, diversion, and misuse of oral pre-             then just dropping opioids altogether was somehow seen as
      scription opioids for acute and chronic noncancer pain.                a logical or natural progression. After all, we have regional
      The human and economic toll is staggering (400,000 U.S.                anesthesia, lidocaine, ketamine, and other drugs that can con-
      deaths over the past two decades, one quarter of which may             tribute to the analgesic components of anesthetics. Opioids
      be suicides, and $2.5 trillion costs for just 2015 to 2018,            do have untoward side effects, the most bothersome being
      including $700 billion in 2018 alone—3.4% of the U.S.                  nausea and vomiting and the most dangerous being respira-
      gross domestic product),15–18 and the problem is not limited           tory depression. Multimodal analgesic therapy is based on
      to the United States.19 Whether via the medical or lay press,          the theory of combining drugs to achieve additive benefit

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                                                                                                                    All opioids

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                                                                                    Synthetic opioids ot




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                                                                                                                   Methadone

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                                               1999 2001 2003 2005 2007 2009 2011 2013 2015 2017 2019 2021

           Fig. 1. U.S. drug overdose deaths involving opioids 1999 to 2020 (November), by type of opioid. The data can be accessed at https://www.
           cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm.



        without additive risk or synergistic benefit with only addi-              surgical approaches and postoperative care (e.g., oral intake,
        tive risk. Multimodal approaches can clearly reduce pain and              early ambulation), and only one of the five key enhanced
        opioid consumption in some circumstances. All is not pure                 recovery protocol components originally associated with
        benefit, however, because many adjuvant drugs can actually                improved outcomes relates to anesthesia (epidurals in open
        increase the very side effects that are unwanted or introduce             colectomy).13,14 Nevertheless, enhanced recovery pro-
        new risks. For example, gabapentinoids, sedative-hypnot-                  tocols have been increasingly laden by well intentioned
        ics, benzodiazepines, and “muscle relaxants” (e.g., baclofen              clinicians with more and more elements, simply added
        and carisoprodol) can produce additive or even potentiate                 under the assumption they will provide additional benefit.
        opioid-induced respiratory depression.28–30 This is not more              Unfortunately, these protocols and assumptions are often
        benefit with less risk, but in fact more risk with less benefit.          untested, unvalidated, and of unknown benefit and risk.14
            Perhaps then the thinking was to change further, to ide-                  Also problematic is that enhanced recovery protocols
        ally eliminate untoward opioid drug interactions by just                  and consensus statements may overstate and/or misinterpret
        eliminating opioids altogether. The problem is that opioids               published literature to support assertions about opioids and
        are the most efficacious analgesics available in many situa-              the value of opioid eradication, and it is important to separate
        tions, and the remaining multimodal components alone are                  evidence from conventional wisdom and assumption. For
        insufficiently effective against moderate-to-severe pain. No              example, a consensus review of optimal perioperative care
        amount of wishing will turn acetaminophen into hydro-                     in colorectal surgery from the Enhanced Recovery After
        morphone. Although opioid sparing (if it means avoiding                   Surgery Group31 claimed that the adverse effects of opioids
        excessive opioid use) is appropriate, opioid eradication, as              can hamper recovery and prolong length of stay, citing a
        identified by Shanthanna et al.,9 is not, based on evidence               Cochrane review, yet that review did not address opioids.
        to date. Opioid sparing is not synonymous with opioid                     A set of clinical practice guidelines for enhanced recovery
        absence.                                                                  after colon and rectal surgery from the American Society
                                                                                  of Colon and Rectal Surgeons and Society of American
        Enhanced Recovery after Surgery and Opioids                               Gastrointestinal and Endoscopic Surgeons claimed that
        The objective of enhanced recovery after surgery proto-                   multiple prospective studies (citing four) demonstrated that
        cols is to restore patients to their presurgical state of health          minimizing opioids was associated with earlier return of
        as quickly as possible, as well as to reduce complications                bowel function and shorter length of stay, yet inspection of
        and standardize perioperative care to minimize variabil-                  those four studies found that none evaluated the specific
        ity and improve outcomes.13 Postoperative recovery is                     contribution of postoperative opioids in isolation, and none
        influenced primarily by minimally invasive (laparoscopic)                 eliminated opioid use entirely.32 Less may be better, but it

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      is not clear that none is best. Such overstatements notwith-          patients are provided the optimal balance of analgesia with
      standing, enhanced recovery protocols do not universally              minimal or no side effects or risks. The problem is that one
      advocate for opioid eradication over rational use. Even the           dose regimen does not fit all. Personalized medicine is dif-
      most recent enhanced recovery guidelines state that opioids           ficult to protocolize.
      cannot necessarily be avoided and that analgesia is best pro-             The challenge is to devise regimens, optimize drug
      vided by opioid sparing, not by opioid eradication.33                 selection, and deliver care that provides optimal intraop-
                                                                            erative and immediate postoperative analgesia and ideally




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      Looking Forward                                                       also confers long-lasting benefit with improved recovery
                                                                            trajectories.45 For example, and the exact opposite of opioid
      It is time to regain our balance in anesthesia. Opioid-free
                                                                            eradication, the long-duration opioid methadone not only
      anesthesia may be feasible. Nevertheless, it appears neither
                                                                            reduces intraoperative and immediate postoperative pain
      logical nor beneficial to patients. Feasibility is not a thera-
                                                                            and opioid requirements but also reduces pain and opioid
      peutic indication, nor is it patient-centric. In a hierarchical
                                                                            consumption long after patients have left the healthcare
      progression of values from feasible (can it be done?) to via-
                                                                            institution.46–49 An “opioid-sparing opioid” like methadone
      ble (does it have value?) to worthwhile (does it meet patient
                                                                            might confer advantage over opioid eradication.
      needs?) to desirable (do patients want it?) to optimal (does it
                                                                                Optimal postoperative analgesia will only be achieved
      best meet patient needs and optimize outcome?), feasibility
                                                                            by using the available tools in a manner tailored to the spe-
      is the lowest of value propositions.
                                                                            cific needs of individual patients. Our preoccupation with
          Surgery hurts. Patients suffer from acute postoperative
                                                                            opioid-free anesthesia and analgesia distracts us from this
      pain. More than 80% of patients report their postopera-
                                                                            challenge. What is clear is that our current analgesic phar-
      tive pain is not adequately treated, a metric unchanged
                                                                            macologic armamentarium is inadequate to the task of pro-
      for decades.34–36 Depriving patients of analgesic opioids is
                                                                            viding adequate pain relief with minimal side effects, and
      unlikely to improve that metric. Additionally, poorly con-
                                                                            it has not materially changed in decades. While academia
      trolled acute postoperative pain is the greatest risk factor
                                                                            and industry regroup after years of failures, hopefully new
      for chronic postoperative pain, which afflicts 10 to 60% of
                                                                            molecular, cellular, and systems-based approaches will help
      surgical patients.37,38 Moreover, acute postoperative pain is
                                                                            us to discover novel approaches to analgesia. In the mean-
      associated with complications, both generalized (postoper-
                                                                            time, we can work on using existing tools more effectively.
      ative cognitive decline, delirium, and sleep disturbances39)
                                                                            We have not defined the optimal components of multi-
      and surgical (surgical site and urinary tract infections,40
                                                                            modal analgesic pathways, nor have we developed tailored
      30-day infection rates,41 and higher readmission rates42). So
                                                                            approaches consistent with the goals of precision medicine.
      too is chronic postsurgical pain associated with postopera-
                                                                            Rather than toss aside opioids, some of our most powerful
      tive complications.43 Patients who experience postoperative
                                                                            tools, we should focus on defining the optimal use of these
      pain have poorer recovery, less satisfaction, and more regret
                                                                            important drugs.
      about having had surgery.44 Nonopioid approaches to treat-
      ing acute postoperative pain such as local and regional
                                                                            Research Support
      anesthesia, which are hoped to prevent the transition to
      chronic postoperative pain, and nonopioid analgesics such             Supported by grant No. R01 DA042985 from the National
      as nonsteroidal anti-inflammatory drugs, N-methyl-d-                  Institutes of Health, Bethesda, Maryland (to Dr. Kharasch)
      aspartate–receptor antagonists, and gabapentinoids have,              and grant No. I01 BX000881 from the Department of
      unfortunately, not been successful.38 The history of exces-           Veterans Affairs, Washington, D.C. (to Dr. Clark).
      sive and inappropriate outpatient prescribing of oral opi-
      oids for chronic pain should not motivate the withholding             Competing Interests
      of opioids for acute perioperative surgical pain. As stated           Dr. Clark has a consulting agreement with Teikoku Pharma
      previously, “perioperative practitioners should avoid mak-            USA, San Jose, California. Dr. Kharasch declares no com-
      ing surgical patients pay with unnecessary suffering for the          peting interests.
      opioid overprescribing sins of others.”7
          The clinical trial report8 and the comprehensive review9          Correspondence
      in this issue of Anesthesiology demonstrate that it is time
      for the opioid pendulum to swing back from the unjustified            Address correspondence to Dr. Kharasch: evan.kharasch@
      extreme of opioid eradication to a more balanced and ratio-           duke.edu
      nal approach.7 Although it is well known that excessive opi-
      oid use can have adverse consequences that can and should             References
      be mitigated, swinging completely to the absence of opi-
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